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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.                     )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )
                                          )   Civil Action No. 1:17-cv-11008-MLW
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )




       PLAINTIFFS’ MOTION TO EXCLUDE REBECCA BETENSKY, Ph.D.
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I.     INTRODUCTION

       In his opening report, Janssen’s infringement expert Dr. Michael Butler opined that

experiments conducted by Dr. Florian Wurm confirmed that the literal differences between the

accused cell culture media and the claims of the ‘083 patent are insubstantial. Dr. Butler also

included a brief statistical analysis that he indicated was a “backup” to his primary assessment of

Dr. Wurm’s data. In response to this portion of Dr. Butler’s report, Defendants submitted a

report from a statistician, Dr. Rebecca Betensky, regarding the statistical analysis done by Dr.

Butler. Janssen subsequently submitted a reply report from another statistician, Dr. Philip Lavin.

Both statistical experts (Dr. Betensky and Dr. Lavin) agree that they are not persons of skill in

the art of cell culture media, and that as a result they are not qualified to assess whether the

statistical analysis means there are or are not substantial differences between the accused cell

culture media and the claims of the ‘083 patent. That is a question, they both agree, for those of

skill in the art, such as Dr. Butler and Defendants’ technical expert, Dr. Michael Glacken.

       As is the Court is aware, Defendants have now conceded that Dr. Glacken will not opine

that the differences between the ‘083 patent and the accused media are substantial. In particular,

Dr. Glacken has not opined (and will not opine) that the results of Dr. Wurm’s experiments

demonstrate the existence of any substantial differences. Nor does he have any opinion that Dr.

Butler’s statistics show substantial differences. Instead, Dr. Glacken’s sole opinion on Dr.

Wurm’s experiments and Dr. Butler’s opinions based on them is that they are methodologically

flawed. In light of Dr. Glacken’s opinions, it will not be necessary for Dr. Butler to testify about

his statistical “backup” to his primary assessment of Dr. Wurm’s results. Accordingly, Janssen

does not propose to elicit such testimony from Dr. Butler and it does not plan to call Dr. Lavin as

a witness.



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          With no statistical testimony from Dr. Butler at trial, testimony of non-biologists

regarding his statistical analysis is irrelevant and would serve only to confuse the jury and waste

time. Unless Janssen opens the door regarding statistical analysis of the differences (which it

does not intend to do), Defendants should not be permitted to call Dr. Betensky to testify or to

question witnesses about statistical analysis.

II.       BACKGROUND

          In his opening expert report on infringement, Dr. Butler included a four-paragraph

section on statistical analysis that he used “as a backup.” Butler Infringement Report (Ex. A) ¶¶

126−29. The statistical analysis served to “confirm” Dr. Butler’s prior opinions that the data

showed no substantial differences between the Celltrion media and the relevant variants. Id. Dr.

Butler explicitly noted that regardless of the statistical analysis, “[i]n any event . . . the magnitude

of the differences are such that I do not consider them substantial.” Id. ¶ 129. Dr. Butler’s report

did not rely on the statistical analysis for his conclusion that the Celltrion media infringe the ‘083

patent.

          In response to Dr. Butler’s report, Defendants submitted a rebuttal report from Dr.

Betensky disputing the validity of Dr. Butler’s statistical analysis. While Dr. Betensky criticized

Dr. Butler’s statistical analysis, she did not conduct her own analysis. Nor did she purport to have

an independent opinion on the substantiality of the differences. See Betensky Rebuttal Report

(Ex. B) ¶ 71 (concluding only that Dr. Butler’s statistical analysis did not support Janssen’s

allegations regarding statistical proof and that there are some statistically significant differences).

At her deposition, Dr. Betensky testified that “experts in the field” are those who are “best able to

make a determination whether or not a particular . . . difference is meaningful.” Betensky Dep.




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Tr. (Ex. C) at 95:13−22. And she agreed that “statistically significant differences in performance”

are not automatic “defen[ses] against the doctrine of equivalents.” Id. at 94:16−24.

         Dr. Lavin’s reply, submitted by Janssen, opines that the statistical tests performed by Dr.

Butler as a backup to his analysis are reliable. Like Dr. Betensky, Dr. Lavin does not take a

position on the ultimate question of whether the ‘083 patent and the Celltrion media are

equivalent under the doctrine of equivalents. See Lavin Reply Report (Ex. D) ¶ 46−48; see also

Lavin Dep. Tr. (Ex. E) at 22:24−23:3 (“Q. Okay. Is it your opinion, are you providing an opinion

that the variants are equivalent to either CGM or CPM? A. That’s a conclusion that’s beyond my

scope.”) (objection omitted).

         The scope of the dispute between Drs. Butler and Lavin and Dr. Betensky is therefore

highly limited. Dr. Butler initially identified four statistically significant differences out of 132

relevant comparisons. Butler Infringement Report ¶ 128. Dr. Betensky criticized his methods but

did not “did not do any data analysis,” Betensky Dep. Tr. at 37:10, or identify any relevant

significant differences other than those identified by Dr. Butler. See Betensky Report App’x 1;

Betensky Dep. Tr. 53:12−55:9 (explaining that she identified two differences each for CGM and

CPM). 1 This small number of statistically significant differences is meaningless. As Dr.

Betensky notes in her report, at the relevant threshold for p-value, one would expect a “5% false

positive error . . . i.e. the probability of declaring a significant difference when there truly is no

difference is 5% or 5 out of 100.” Betensky Report ¶ 28. The number of statistically significant

differences falls comfortably in the zone of false positives. Dr. Lavin supported Dr. Butler’s


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 Dr. Betensky’s report lists 82 statistically significant differences, but the vast majority are either
comparisons between the negative controls and the tested media, where differences would be expected, or
between the variants compared to one another, which are irrelevant to infringement. See Lavin Report ¶
31.
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initial analysis and performed some additional tests as well, which Dr. Betensky testified that “at

the high level” she “agree[d] with . . . minus some details.” Betensky Dep. Tr. 122:20−21; see

also id. at 115:13−16. Dr. Lavin’s statistically significant results were also “far fewer than

chance alone would have suggested.” Lavin Dep. Tr. at 25:12−15.

        Recently, Defendants’ noninfringement expert Dr. Glacken confirmed that he had offered

no opinion that the differences between the accused media and the ‘083 patent are substantial, and

Defendants have confirmed that they will not attempt to present any such opinion at trial. 1/31/18

H’g Tr. at 70:16−18. Indeed, Dr. Glacken testified at his deposition not only that he omitted to

identify any substantial differences based on Dr. Wurm’s test results, but that he didn’t think it

was “worth the time to talk about the results” of Dr. Wurm’s experiments at all:

                Q. Okay. Again, in your report, you didn't express an opinion that
                Dr. Wurm's results revealed any substantial difference in
                performance in terms of cell growth and antibody production
                comparing the Celltrion media to the respective variance he created?

                A. No. In my -- in my expert report, I spent all my time explaining
                why I thought the experiment was not -- not valid and not, you
                know -- wasn't worth the time to talk about the results. But again,
                I do believe I did reference Dr. Butler who actually despite the
                flawed experiment did find statistically significant differences.

                Q. But you didn't express the opinion in your reports that the
                statistically significant results that Dr. Butler saw were substantial
                differences under the insubstantial differences test, right?

                A. Again, you know, so, so we can move on, but I'm always going
                to place my answers in context is that no, I didn't give that opinion,
                but neither did I feel I needed to give that opinion because the burden
                of proof is on the plaintiffs. As I mentioned the -- Dr. Wurm's
                experiment was -- was not valid for the purposes of -- of proving
                infringement and I could stop there. I didn't need to go looking into
                the results, but again, you know, I think it should always be noted
                even though I wasn't looking for statistically significant results, Dr.
                Butler did find some.

Glacken Tr. (Ex. F) at 187:17−189:23 (emphasis added and objections omitted).
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        Given that there will not be a dispute about Dr. Butler’s primary analysis regarding the

substantiality of the differences, there is no point in complicating matters by addressing the

statistical tests. It does not make any sense for the jury to hear complex statistical disputes

between two experts—disputes that in the end are about nothing at all since both experts agree

that they should not be the ones to opine on the ultimate issue of equivalence and that the few

differences they identified could all be false positives. Testimony on statistical analysis, which

Dr. Butler did only as a “backup” and about which he will not testify at trial, would be confusing

and wasteful of the jury’s time. To the extent it has some minimal relevance, its probative value

would be outweighed by the “danger of . . . confusing the issues, misleading the jury” or “wasting

time.” Fed. R. Evid. 403.

III.    ARGUMENT

        A.      With No Dispute About Substantiality, Dr. Butler and Dr. Lavin Will
                Not Testify About Statistics, Rendering That Subject Irrelevant

        As noted, Defendants have now conceded that Dr. Michael Glacken, their infringement

expert, will not present an opinion that the differences between the ‘083 patent and the Celltrion

media are substantial. 1/31/18 H’g Tr. at 70:16−18. Indeed, Dr. Glacken did not think it was

“worth the time to talk about the results” of Dr. Wurm’s experiments at all. Defendants’

concession that Dr. Glacken will not testify that Dr. Wurm’s results show substantial differences

obviates the need for Janssen to rely on Dr. Butler’s backup statistical analysis. Dr. Butler’s

primary analysis of Dr. Wurm’s results is effectively uncontested and requires no backup.

Accordingly, Janssen does not intend to have Dr. Butler testify about his statistical analysis at

trial. Likewise, it will not present Dr. Lavin to testify about his statistical analysis.

        The only possible relevance of the testimony of Dr. Betensky would have been to rebut

Dr. Butler’s statistical analysis. By her own admission, Dr. Betensky presents no independent
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analysis that the differences between the ‘083 patent and the Celltrion media are substantial.

Betensky Dep. Tr. at 37:10. She agreed that it is outside her expertise to make the ultimate

conclusion as to whether the differences are substantial or not. The conclusion of her expert

report is only that Dr. Butler’s analysis did not support his statistical conclusions and that there

are a few statistically significant differences, all in the zone of false positives. Betensky Rebuttal

Report ¶ 71. At her deposition she testified that “experts in the field” are those who are “best able

to make a determination whether or not a particular . . . difference is meaningful.” Betensky Dep.

Tr. at 95:13−22. And she did not conclude that “statistically significant differences in

performance” are necessarily a “defen[se] against the doctrine of equivalents.” Id. at 94:16−24.

With no statistical testimony from Dr. Butler to rebut, Dr. Betensky’s testimony has no remaining

relevance.

        B.      With No Testimony from Dr. Butler or Dr. Lavin to Respond to, Dr.
                Betensky’s Testimony Should Be Excluded Under Rule 702

        Standing on its own, Dr. Betensky’s testimony is inadmissible under Rule 702. By her

own admission, Dr. Betensky, a professor of statistics, is not a person of ordinary skill in the art

of cell culture media development. See Betensky Dep. Tr. at 65:2−8. As a result, controlling

Federal Circuit laws holds that Rule 702 bars her from testifying on “issues of noninfringement.”

Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1362 (Fed. Cir. 2008). As the court

explained in Sundance:

                [I]t is an abuse of discretion to permit a witness to testify as an
                expert on the issues of noninfringement or invalidity unless that
                witness is qualified as an expert in the pertinent art. Testimony
                proffered by a witness lacking the relevant technical expertise fails
                the standard of admissibility under Fed. R. Evid. 702. Indeed, where
                an issue calls for consideration of evidence from the perspective of
                one of ordinary skill in the art, it is contradictory to Rule 702 to
                allow a witness to testify on the issue who is not qualified as a
                technical expert in that art.
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Id. at 1363 (emphasis added).

        If there were a dispute as to whether Dr. Wurm’s results established substantial

differences and Dr. Butler relied on his statistical analysis or Dr. Lavin’s at trial to support his

opinion, then it might be appropriate under Rule 702 for Dr. Betensky to address Dr. Butler’s

statistics. But since Dr. Butler is not going to rely on his statistical analysis at trial and Dr. Lavin

is not going to testify, any testimony by Dr. Betensky would simply be in support of Defendants’

noninfringement case. That is precisely what Sundance holds an expert who is not a person of

skill in the art in the relevant field cannot do. Rule 702 dictates that Dr. Betensky should be

precluded from testifying unless Dr. Butler opens the door by testifying on direct examination

about his statistical analysis.

        C.      Dr. Betensky’s Testimony Should Also Be Excluded Under Rule 403

        In addition to Rule 702, Federal Rule of Evidence 403 would bar Dr. Betensky’s

testimony. Rule 403 provides that evidence that meets the minimal relevance requirements of

Federal Rule of Evidence 401 may nevertheless be excluded if its probative value would be

outweighed by the potential for confusing the issues, misleading the jury or wasting time at trial.

Fed. R. Evid. 403. The determination of whether to admit or exclude evidence pursuant to Rule

403 is a matter of “wide discretion” for the District Court. Lund v. Henderson, 807 F.3d 6, 11

(1st Cir. 2015) (internal quotation marks omitted). Here, permitting Dr. Betensky—and

therefore Dr. Lavin—to testify about Dr. Butler’s statistical analysis would lead to jury

confusion and wasted time that greatly outweighs any marginal relevance that their testimony

may have.

        Allowing Dr. Betensky to testify would result in “a mini-trial about a side issue” with the

serious potential to “confuse[] the jury.” United States v. George, 761 F.3d 42, 57 (1st Cir. 2014);


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see also CPC Int’l, Inc. v. Northbrook Excess & Surplus Ins. Co., 144 F.3d 35, 45 (1st Cir. 1998)

(affirming exclusion of evidence regarding prior actions as it would “result in jury confusion” and

“wasted time”). This is particularly true since the use of statistical evidence here is of, at best,

marginal probative value. See Turner v. Allstate Ins. Co., 902 F.2d 1208, 1213 (6th Cir. 1990)

(upholding exclusion of statistics where there was “limited probative value” outweighed by “the

likelihood that the statistics would confuse the jury”). Moreover, the scope of the dispute is

tightly circumscribed. When discounting the irrelevant statistically significant differences

between individual variants or differences between variants and the negative controls, Dr.

Betensky’s analysis reveals only the same four differences as Dr. Butler’s. And by her own

admission she conducted no independent statistical analysis. See Betensky Dep. Tr. at 34:1−8,

37:10, 41:8−10, 93:4. This further limits any possible probative value that hearing the testimony

might provide and weighs against allowing Dr. Betensky to testify.

        The likelihood of confusion would be compounded by the semantic similarity between

substantial differences and statistically significant differences. In ordinary speech, “substantial”

and “significant” are often used as synonyms. But as used at trial, they would be technical terms

that both parties agree are completely distinct. Dr. Glacken has conceded that a statistically

significant difference is not necessarily substantial. Glacken Tr. 189:7−15 (“Q. But you didn't

express the opinion in your reports that the statistically significant results that Dr. Butler saw were

substantial differences under the insubstantial differences test, right? . . . [N]o, I didn’t give that

opinion.”). The relevant question at trial is whether the literal differences between the accused

media and the ‘083 patent are insubstantial. Introducing the irrelevant question as to whether any

of the experimental results are statistically significant would be hopelessly confusing.



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         Furthermore, allowing Dr. Betensky to testify would lead to a great deal of wasted time.

Although irrelevant, Dr. Betensky’s response to Dr. Butler’s statistical analysis is complicated

and would take hours of trial time to cover. If Dr. Betensky were permitted to testify, moreover,

Janssen would need to call Dr. Lavin to respond to her testimony. Dr. Lavin’s testimony would

be no more relevant to infringement than Dr. Betensky’s. Like Dr. Betesnky, Dr. Lavin did not

draw any ultimate conclusions as to infringement. See Lavin Reply Report ¶ 46−48. Also like

Dr. Betensky, he testified that it was “beyond [his] scope” to opine on whether Dr. Wurm’s tested

variants “are equivalent to either CGM or CPM.” Lavin Dep. Tr. 22:24−23:3. Nevertheless, Dr.

Lavin’s analysis is even lengthier and more involved than Dr. Betensky’s, as he, unlike Dr.

Betensky, conducted his own statistical analysis of Dr. Butler’s results. The end result would be

multiple trial days devoted to testimony on a highly technical subject that has nothing to do with

the dispositive questions at trial.

         In sum, the proposed testimony of Dr. Betensky is of, at the very best, “questionable

relevance,” as she does not opine on the ultimate issue which the statistical experts agree is

beyond their purview, and of “limited probative value,” as Dr. Butler only presented statistical

analysis as a short “backup” to his already-substantiated conclusions. It should be excluded. See

Pinkham v. Burgess, 933 F.2d 1066, 1071 (1st Cir. 1991) (“‘When evidence with great potential

to confuse is of questionable relevance, limited probative value, or both, courts will usually

exclude it.’”) (quoting 10 Moore’s Federal Practice § 403.12 at IV-82 (1988)).

         Finally, Defendants will also suffer no prejudice from the exclusion of Dr. Betensky. If

this motion is granted, Janssen will not rely on the statistical analysis performed by Dr. Butler or

call Dr. Lavin. Thus, there will be nothing for Dr. Betensky to rebut at trial. She disclaimed any

intent to conclude that the ‘083 patent and accused media are substantially different as a matter of

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the doctrine of equivalents and she cannot alter her opinion on that issue at this stage. See Fed. R.

Civ. P. 26(a)(2)(B)(i) (expert witness reports must provide a “complete statement of all opinions

the witness will express”).

IV.     CONCLUSION

        For the foregoing reasons, the Court should grant Janssen’s motion to exclude the

testimony of Dr. Betensky.




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Respectfully Submitted,

Dated: May 4, 2018

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                            LOCAL RULE 7.1 CERTIFICATION

        I, Alison C. Casey, certify that plaintiff’s counsel conferred with defendants’ counsel on
the subject of this motion and attempted in good faith to resolve or narrow the issue raised in
this motion. No agreement has been reached. Defendants have asserted that they will oppose
this motion.
                                                        /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 4, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                      /s/ Alison C. Casey
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